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                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION



DALLAS BUYERS CLUB, LLC                               Case No.: 3:15-cv-00907-AC

                  Plaintiff,
                                                      PLAINTIFF’S MEMORANDUM OF
       v.                                             POINTS AND AUTHORITIES IN
                                                      RESPONSE TO DEFENDANT’S
JOHN HUSZAR                                           SUPPLEMENTAL BRIEFING
                                                      REGARDING DEFENDANT’S
                  Defendant.                          SUMMARY JUDGMENT MOTION




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                  MEMORANDUM OF POINTS AND AUTHORITIES
       In his Supplemental Brief Regarding Summary Judgment (“Supplemental
Brief”), Defendant John Huszar (“Defendant” or “Huszar”) argues that as a result
of recent Ninth Circuit precedent, Ventura Content v. Motherless, 885 F.3d 597 (9th
Cir. 2018) (“Ventura Content”), Defendant’s use of a Tor router means that he, as a
matter of law, fits within the DMCA statutory safe harbor of 17 USC § 512(c)
(“Sect. 512(c)”). That contention is incorrect.
       As a starting point, Defendant did not even move for summary judgment
claiming safe harbor protection under Sect. 512(c). To the contrary, Defendant
sought summary judgment on the ground that he has copyright infringement
immunity under Sect. 512(a) and (b), two related, but different safe harbor
provisions. Dkt. No. 138. Having previously failed to move for summary
judgment under Sect. 512(c), Defendant cannot now, in a sur-reply, attempt to
surreptitiously expand the scope of his motion and seek summary judgment under
new theories that have never before been presented.
       Even if the Court decides to reach the merits of Defendant’s new Sect.
512(c) argument, it is clear that neither the statute, nor the Ventura Content case
that Defendant cites, support Defendant’s argument that use of a Tor router
insulates him from liability and that summary judgment should be granted in his
favor. To the contrary, Sect. 512(c) lists several elements that must be established
to take advantage of the statutory safe harbor from copyright infringement claims.
As the Court in Ventura Content put it:

                  [F]or a service provider to get safe harbor protection
                  despite its infringement, it must not know of the
                  infringement, and the infringement cannot be apparent.
                  It must also take down or prevent access to the infringing
                  material as soon as it learns about it or receives a DMCA
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                  notice. And it must not directly benefit financially from
                  the infringement in situations when it can control the
                  activity.
Ventura Content v. Motherless, 885 F.3d 597, 604 (9th Cir., 2018). On top of that,
the service provider must have a policy to terminate users who repeatedly engage
in infringing activity. 17 USC § 512(i). This is a fact-dependent inquiry that
cannot be resolved simply by reference to the type of internet network being
utilized, as Defendant suggests.
       To be clear, the Ventura Content case did not in any way involve a Tor user.
Rather, it involved a website that allowed for the posting of user-generated content.
In that case, the plaintiff copyright holder sued that website, which hosted adult
photos and videos uploaded by individual users, when it appeared clear that users
were, in fact, uploading content owned by plaintiff. Both the trial court and the
Ninth Circuit found that the defendant website fit within the statutory safe harbor
under Sect. 512(c). The defendant had no actual knowledge that content infringing
the plaintiff’s copyrights had been posted on the defendant’s website, particularly
considering the defendant had not been served with DMCA takedown notices by
the plaintiff. The defendant also did not have any apparent knowledge of
infringement, as the plaintiff’s videos were not marked as copyrighted and were
not sufficiently current and well-known for the copyright implications of sharing
the videos to be objectively obvious. Id. at 611 (citing Columbia Pictures
Industries, Inc. v. Fung, 710 F. 3d 1020 (9th Cir. 2013)). Finally, the courts found
that the defendant did not benefit financially from the infringement and worked
expeditiously to take down infringing material when informed.
       Notably absent from this detailed, fact-specific inquiry, is any discussion of
the type of router or network relied upon by the defendant. This simply did not
enter the Court’s analysis, and its conclusion that the defendant fit within the Sect.
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512(c) safe harbor was based on other facts.
          Thus, contrary to Defendant’s argument in the Supplemental Brief, the
Ventura Content case does not establish that a party’s operation of a Tor router
ipso facto entitles that party to statutory immunity under Sect. 512(c), or any other
statute. In the Ventura Content case, the Ninth Circuit took note of the fact that the
defendant was not served with a DMCA takedown notice, timely removed the
content infringing the Plaintiff’s copyright the same day it was pointed out, and
otherwise worked expeditiously to remove infringing content.
          Did Defendant Huszar get any such notices, timely remove any content or
infringing users, remove any infringing content? One can never truly know
because Defendant acted contrary to a court directive and intentionally deleted the
hard drive and backup RAID drive of the only computer known to have accessed
the IP address at issue in this case, leading to a separate discovery sanction against
him. DKt No. 95. Defendant now seeks to use his own spoliation as a shield and
argues that because he used a Tor router, it is impossible to determine who is liable
for the infringement and Defendant automatically qualifies for a DMCA safe-
harbor. However, this position is not supported by any case-law, including the
Ventura Content case that Defendant misconstrues, and is directly contrary to
Defendant’s own discovery conduct, including deleting a computer hard drive he
had been ordered to turn over.
          Defendant’s reliance on Ventura Content and his alleged operation of a Tor
site is a red herring. Defendant destroyed his hard drive and backup drive, but now
wants to be protected from his alleged infringing acts by his assertion that he used
Tor, the “safe haven for criminal activity, especially child pornography.”1 He


1
 See The Tor Network: A Global Inquiry into the Legal Status of Anonymity Networks, 11 Wash.
U. Global Stud. L. Rev. 715, 723 (2012) (“Tor Network Inquiry”).
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seeks a safe harbor for his acts, but it has been noted that the use of Tor may
violate Section 512(i) of the DMCA which mandates that all networks seeking
DMCA immunity must not interfere with “standard technical measures” which are
described as “technical measures that are used by copyright owners to identify or
protect copyrighted works.” 17 U.S.C. § 512(i)(2). Thus, “[b]ecause the DMCA
was not intended to cover and did not anticipate anonymity networks like Tor, it
seems unlikely that a court would apply its provisions to Tor.” Tor Network
Inquiry at 725; see also, An Onion a Day Keeps the NSA Away, 13 No. 11 J.
Internet L. 22, 25-26 (2010) (noting many arguments “that could be used to argue
that anonymity networks [such as Tor] do interfere with standard technical
measures and, therefore, are not deserving of [DMCA] safe harbor protections”
such as, for example, the fact that Tor “frustrates the copyright holder’s ability to
discover a file’s true internet location” interfering with the “identification” of the
file where the infringing material is stored and thus “Tor interferes with § 512(i)’s
standard technical measures to identify copyrighted works and therefore is
undeserving of DMCA safe harbor protection.”)
       The Court should ignore Defendant’s incorrect arguments in the
Supplemental Brief and deny his motion for summary judgment.

        June 20, 2019
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